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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

CHRISTOPHER BARBOUR,

                              Petitioner,

       -vs-                                          Civil Action No. 2:01cv612-ECM

JEFFERSON S. DUNN, Commissioner,
Alabama Department of Corrections,

                              Respondent.


                                  JOINT STATUS REPORT


       Come now Respondent, by and through the Attorney General for the State of Alabama,

and Petitioner, by and through undersigned counsel for Petitioner, and, pursuant to this Court’s

March 30, 2021 order granting limited discovery, provide the following status report:

   1. As described in the parties’ joint status report, filed August 2, by agreement of the parties,

       Forensic Analytical Crime Laboratory Director, Alan Keel, commenced testing a vaginal

       swab from the crime scene in the above-captioned case.

   2. Following Mr. Keel’s August 5 email to Petitioner’s counsel that Mr. Barbour, Mr. Hester,

       and Mr. Roberts had all been eliminated as the source of the semen on the vaginal swab

       taken from Mrs. Roberts after she was killed, Mr. Keel prepared a report describing the

       DNA profile found on the vaginal swab.

   3. On September 23, Mr. Keel forwarded that report to Acadiana Crime Laboratory in New

       Iberia, Louisiana to conduct a comparison with the CODIS national DNA database.




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   4. In the meantime, per agreement of the parties, Mr. Keel has begun testing additional items

       of crime-scene evidence, beginning with the knife found in Mrs. Thelma Roberts’s body

       and a pair of pajama bottoms believed to be worn by her the night of her death.

Respectfully submitted,

/s/ George H. Kendall
George H. Kendall                                  Miriam Gohara
Squire Patton Boggs (US) (LLP)                     Criminal Justice Advocacy Clinic
1211 Avenue of the Americas, 26th Fl.              Yale Law School
New York, NY 10036                                 127 Wall Street
212.872.9800                                       New Haven, CT 06511
george.kendall@squirepb.com                        203.436.9167
                                                   miriam.gohara@ylsclinics.org
Samuel Spital
NAACP Legal Defense & Educational Fund, Inc.
40 Rector Street, 5th Floor
New York, NY 10006-1738
212.965.2200
sspital@naacpldf.org


/s/ Audrey Jordan
Audrey Jordan
Assistant Attorney General
Counsel for Respondents
Office of the Alabama Attorney General
501 Washington Avenue
Montgomery, Alabama 36130
(334) 353-4338
Audrey.Jordan@AlabamaAG.gov




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 1, 2021, a copy of the foregoing pleading was served by
operation of the Court’s ECF system on:


Audrey Jordan
Alabama Attorney General’s Office
501 Washington Avenue
Montgomery, AL 36130




                                                    /s/ George H. Kendall
                                                    George H. Kendall




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